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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MARSH & MCLENNAN AGENCY LLC,

                 Plaintiff,

          -against-                           Case No.:19-cv-03837-VSB

ELMER “RICK” FERGUSON,

                 Defendant.




  PLAINTIFF’S POST-HEARING MEMORANDUM OF LAW IN SUPPORT OF ITS
               MOTION FOR A PRELIMINARY INJUNCTION




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                                      PRELIMINARY STATEMENT

         During and after his employment with MMA, Ferguson violated his contractual, statutory

and common law obligations to his employer by, among other things, unlawfully disclosing and

using MMA’s Confidential Information and Trade Secrets to solicit clients to terminate their

relationship with MMA and to move their business to Ferguson’s new employer, Teros Advisors

LLC (“Teros”). The evidentiary record in this case – including the testimony and exhibits from

the October 2 and 3, 2019 hearing, declarations from both Ferguson and MMA, and documents

exchanged pursuant to expedited discovery – overwhelmingly demonstrates that MMA is likely

to succeed on the merits of its claims.

         For the foregoing reasons, and for reasons set forth in MMA’s Memorandum of Law in

Support of its Motion for a Preliminary Injunction (“Moving Br.”) (Dkt. 35) and the Reply

Memorandum of Law in Support of its Motion for a Preliminary Injunction (“Reply Br.”) (Dkt.

53), MMA respectfully submits that its motion for a preliminary injunction should be granted

and this Court should enjoin Ferguson from continuing his unlawful conduct during the

pendency of this case.1

                                              STATEMENT OF FACTS

         MMA hereby incorporates by reference the statement of facts contained in its Moving

Brief and Reply Brief, and summarizes and/or supplements its statement of facts with the below.

         A.       Ferguson’s Employment with Barney & Barney

         Ferguson began his employment with Barney & Barney on February 22, 2007. Calder

Decl.2 ¶ 5; Crain Decl.3 ¶ 5. In connection with his employment, he signed an agreement with

Barney & Barney on February 26, 2007 (“B & B Agreement”). Calder Decl. ¶ 9; Crain Decl. ¶ 6

1
  MMA also respectfully submits that Ferguson’s pending motion to dismiss (Dkt. 23) should be denied.
2
  “Calder Decl.” as used herein shall refer to the Declaration of Jeff Calder executed on April 27, 2019 (Dkt. 37).
3
  “Crain Decl.” as used herein shall refer to the Declaration of Mara Crain executed on April 29, 2019 (Dkt. 38).
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Ex. B. The B & B Agreement contained restrictive covenants that prohibited Ferguson from,

inter alia, using or disclosing MMA’s Confidential Information and Trade Secrets.4 See Crain

Decl. Ex. B. At Barney & Barney, Ferguson began as a retirement analyst but by the time that

MMA acquired Barney & Barney in 2014, Ferguson was working in the Client Executive, Sales

position. See Calder Decl. ¶¶ 6-7.

        When Ferguson joined Barney & Barney, he did not bring new clients with him. Calder

Decl. ¶ 10; Weber Supp. Decl. Ex. I (email from Ferguson admitting that he had “very few

personal clients” to bring to Barney & Barney in 2007). Even after he transitioned into the sales

role at Barney & Barney, Ferguson depended on Barney & Barney for new business

opportunities. Calder Decl. ¶ 11.

        B.       Ferguson’s Employment with MMA

        On February 1, 2014, MMA acquired Barney & Barney as part of a merger agreement.

Calder Decl. ¶ 12. As part of the merger, MMA extended an offer of employment to all former

Barney & Barney employees, including Ferguson. See Weber Supp. Decl. Ex. J (Offer Letter).

At MMA, Ferguson retained the title and responsibilities that he held at Barney & Barney.

Calder Decl. ¶ 14. In addition, Ferguson entered into a confidentiality and non-solicitation

agreement with MMA (“MMA Agreement”).5 See Weber Supp. Decl. Ex. D.

        In September of that same year, Ferguson informed his supervisor, Bill Peartree, Director

of the Retirement Services Division that he wanted to focus on the service side of the business




4
  MMA’s “Confidential Information and Trade Secrets” includes MMA’s non-public client information, such as the
identities of current and prospective clients, confidential compilations of contact information for key decision
makers at MMA clients, pricing for MMA products and services, and information about specific client needs, or
preferences. See Weber Supp. Decl. Ex. A (MMA Agreement, Section 1(a)).
5
  A true and complete copy of Ferguson’s MMA Agreement is attached as Exhibit D to the Supplemental
Declaration of A. Michael Weber in Support of MMA’s Motion for a Preliminary Injunction (“Weber Supp. Decl.”).




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and return to a Client Executive, Service position. Calder Decl. ¶ 19; Peartree Decl.6 ¶ 9, Ex. A;

Tr. 34:9-16. MMA granted the request, returning Ferguson to a Client Executive, Service

position effective January 1, 2015. Calder Decl. ¶ 20; Peartree Decl. ¶ 11. At that point,

Ferguson’s compensation reverted from the commission-based plan that applied to him in the

Client Executive, Sales position, to a salary plus bonus compensation plan. See Tr. 34:11-25;

63:24-64:10 (Calder: “We do not pay client service executives compensation for sales.”); Weber

Supp. Decl. Ex. P. Since Ferguson’s voluntary move to the service position, Ferguson occupied

the service role while performing some “sales”-related duties for the small clients to which he

was assigned.

         Ferguson’s complaints in 2018 and 2019 were predicated on misstatements about (or

misunderstanding of his compensation structure after he returned to the service side of the

business. First, none of the clients assigned to Ferguson were “his” clients; rather, all MMA

clients were MMA’s clients, and they were not the clients of any one Client Executive. Second,

since Ferguson was paid on a salary plus bonus plan, he did not earn “commissions” based upon

the revenue generated by the clients assigned to him. See Weber Supp. Decl. Ex. P. Ferguson

confuses the structure of his bonuses during this time period with actual commission earnings.

While Ferguson was eligible for a bonus relating to new and/or existing business he brought into

MMA, he was not paid a commission on that business. See Tr. 248:10-16.7



6
  “Peartree Decl.” as used herein shall refer to the Declaration of William Peartree submitted in support of MMA’s
Motion for a Preliminary Injunction.
7
  “[Ferguson] Q: Jeff, you testified earlier that I was in a hybrid role of sales and service. Are you now saying that’s
not true?
A: [Calder:] You were in a hybrid role in that if you brought in and initiated a new account, you were paid a one-
time fee of 25 percent. Your salary and bonus outside of that was based solely on service. It was not based on
continuing revenue from your client.
Q: So sales is what you’re saying?
A: No. What I’m saying is you were paid a one-time bonus for helping initiate an account that was referred to you.”
Tr. 248:10-16.




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       C.      Jeff Stephens Joins MMA As a Producer

       In October 2017, Ferguson suggested to Peartree that Jeff Stephens join MMA’s

Retirement Services team as a Client Executive, Sales. See Peartree Decl. Ex. A. On or about

August 2018, MMA decided to hire Jeff Stephens into the Client Executive, Sales role in its San

Francisco Bay area office. See Peartree Decl. ¶ 18. To compensate Stephens, MMA agreed to

pay him commissions on revenues from the “house accounts” (accounts/clients assigned to

Ferguson for which Ferguson did not earn and was not eligible to be paid a commission under

his compensation plan). Stephens was eligible to earn commission from any business/clients he

brought into MMA and thus MMA coded Stephens as the “Producer” on all of those accounts

(e.g., the accounts he brought into MMA and the “house” accounts).

       Remarkably, though Ferguson supported MMA’s decision to hire Stephens and Ferguson

assisted with recruiting and hiring Stephens, after MMA hired Stephens and MMA assigned

house accounts to Stephens, Ferguson falsely accused MMA and his supervisors of “lying” and

“stealing” his clients. See Crain Supp. Decl. II ¶ 4; Peartree Decl. Exs. C, D.

       Despite Ferguson’s repeated complaints about his compensation and the amount of work

he performed in his hybrid service-sales role, when MMA finally responded to Ferguson’s

concerns by actively recruiting Stephens upon Ferguson’s recommendation and request,

Ferguson’s behavior became more erratic. He sent unprofessional emails to his MMA colleagues

expressing a lack of understanding of his role in a hostile and accusatory manner. See e.g. Crain

Supp. Decl. II ¶ 5. On September 11, 2018, Human Resources Business Partner Mara Crain met

with Ferguson, his supervisors Bill Peartree and Jeff Calder, and other leaders at MMA to clarify

his hybrid role and to respond to his demands for increased compensation due to an alleged

increase in work responsibilities in the hybrid sales/service function. See Crain Supp. Decl. II ¶




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5.8 At the meeting, Calder informed Ferguson that his reactionary language and behavior was

inappropriate. See Crain Supp. Decl. II ¶ 5, Ex. A. Also at that meeting, MMA offered Ferguson

an increase in salary corresponding to his return to the Client Executive, Service position from

the Sales role. Crain Supp. Decl. II ¶ 6. Ferguson’s offer included an increase in salary from

$110,000 per year to $125,000, a 25% bonus for new business referrals, and a separate 12%

bonus plan. Crain Supp. Decl. II ¶ 6. Ferguson accepted the increase. Crain Supp. Decl. II Ex.

B.9

         D.       The Events of December 2018

         On December 5, 2018, Ferguson began an innocuous email chain with his colleagues at

MMA, but quickly escalated the conversation, accusing Peartree, Jake Daly (Senior Client

Manager, Retirement Services), and other MMA employees of “collud[ing]” and “lying” to

Ferguson and “his” clients to “steal [his] book of business,” and claimed that Daly admitted to

lying about “many things.” See Crain Supp. Decl. II ¶ 8, Ex. C. Within days, Daly resigned from

MMA, informing Peartree that Ferguson’s behavior was at least partly responsible for the

decision to leave. See Crain Supp. Decl. II ¶ 9, Ex. D.

         As a result of this chain of events, MMA decided to issue Ferguson a Final Written

Warning. See Crain Supp. Decl. II Ex. G. MMA delivered this warning in a meeting on

December 20, 2018, during which Crain, Peartree, and Calder met with Ferguson to discuss

Ferguson’s concerns about Stephens’s transition into the Sales role and Ferguson’s new Service

role, and to address Ferguson’s behavior, outbursts, and interaction with his colleagues at work.

See Crain Supp. Decl. II ¶ 13-14.

         During the meeting, Peartree, Crain, and Calder explained to Ferguson that he would

8
  “Crain Supp. Decl. II” as used herein shall refer to the second supplemental declaration of Mara Crain, executed on
December, 20, 2019 and submitted herewith.
9
  This bonus represented MMA’s method for compensating Ferguson for business development. Id.




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need to assist in the transition of the sales/fiduciary related role and duties he performed for

certain MMA clients to Stephens. In response to Ferguson’s concern that certain clients may not

want to work with Stephens as their Client Executive (Sales), and they might leave MMA,

Calder dismissed the suggestions as not likely and, in any event, he informed Ferguson that such

a potential result was a business risk MMA would take. Peartree Decl. ¶ 25. At the meeting,

MMA told Ferguson that if clients did not want to work with Stephens, they may be willing to

work with Peartree. See Crain Supp. Decl. II ¶ 13, Ex. H. At no time did anyone at MMA

instruct Ferguson to fire clients, steal client confidential information, or encourage clients to

move to a competitor, or intimate that MMA would condone such behavior.10 See Crain Supp.

Decl. II ¶ 12; Peartree Decl. ¶ 26; Tr.11 79:10-14; 259:2-16.

         E.  Ferguson Breaches His Contractual, Statutory and Common Law Duties to
         MMA

         As early as January of 2019, Ferguson admits that he began breaching his statutory and

common law duty of loyalty to his employer, MMA, and he breached the MMA Agreement (and

B & B Agreement). By January 2, 2019, Ferguson had already planned to solicit clients to move

from MMA to its competitor, Teros Advisors, Inc. (“Teros”). See Weber Supp. Decl. Ex. E.

Ferguson emailed Teros President Nate White that he is “crafting a message for [his] clients to

highlight why [he] is moving to work with [White] and Teros.” Weber Supp. Decl. Ex. H. White

responded that he “would prefer not to assign [Ferguson] to any existing Teros clients at the start

[of Ferguson’s employment] in order to “fully support getting [Ferguson] on board and [MMA’s]

clients over [from MMA to Teros] as a first priority. See Weber Supp. Decl. ¶ Ex. H.



10
   Calder did not have the authority to authorize or instruct Ferguson to “fire” MMA clients. Tr.259:8-12 (“I
[Calder] would never say [to fire clients]. I am not in a position of authority to fire clients that we’ve worked so hard
to maintain.”).
11
   “Tr.” as used herein shall refer to the transcript of the evidentiary hearing held in this action on October 2, 2019
and October 3, 2019 (Dkt. Nos. 98, 100).




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        Soon after, on January 11, 2019, Ferguson emailed White a “simple spreadsheet” listing

“current clients.” See Weber Supp. Decl. Ex. E. Ferguson told White that he had “already talked”

with certain clients and that he had “meetings set [at the] end of this month” for four others. See

Weber Supp. Decl. ¶ H. Ferguson told White that he promised MMA clients “information on

Teros Advisors and why [leaving MMA to move to Teros] is such a positive move” and that he

“really want[ed] to meet or talk with all clients before [he] leave[s] so they know the advantages

of moving [to Teros].” Id. Ferguson also admitted that at meetings with MMA clients in

December 2018 and/or January 2019 – while he was still employed by MMA – he told “all these

clients” that he was “going to be leaving” and, in the process, he solicited MMA’s clients to

move with him to Teros. See Tr. 301:7-13, 305:13-23; 355:8-9.

        In early January 2019, MMA Chief Compliance Officer Diane Rosen learned that

Ferguson had emailed a number of MMA clients (using confidential client contact information)

copying his personal email address on the mass email in violation of MMA policy and his MMA

Agreement. See Rosen Decl.12 ¶ 4. On a telephone call on January 11, 2019 and again in an email

on January 24, 2019, Rosen explained to Ferguson that MMA client contact information,

including client email addresses, are Confidential Information and Trade Secrets, and may not be

disclosed outside of MMA. See Rosen Decl. ¶ 8-9. Rosen asked Ferguson to review his personal

emails and delete emails containing MMA’s confidential client email addresses, and to confirm

when that had been completed. See Rosen Decl. ¶ 9, Ex. 17.

        In early February 2019, while still employed with MMA, Ferguson had fully mapped out

his plan to leave MMA, steal its clients, and solicit clients to move to Teros, and he already had

started to implement that plan by meeting with several MMA clients in December 2018 and/or


12
  “Rosen Decl.” as used herein shall refer to the Declaration of Diane Rosen, executed on Oct. 1, 2019 and
submitted to this court in connection with the preliminary injunction hearing.




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January 2019. In an email to White, Ferguson wrote a list of items to mail to “his” clients, which

included a Teros Brochure and a Teros advisory agreement. See Weber Supp. Decl. Ex. G. In

that email, Ferguson told White that he planned to send the information to roughly “25+” clients

with whom he had spoken as well as “all others,” and that he planned to quit his employment

with MMA “on February 15, at noon.” Id.

        True to the plan he laid out to White, as he admitted, Ferguson contacted MMA clients

while he was employed at MMA. Ferguson sent emails to MMA clients and encouraged them to

terminate their relationship with MMA and move their business to Teros, while misrepresenting

that this change was only a “back-office,” “administrative” change, all while he was employed

with MMA and all while using his MMA computer and MMA’s Confidential Information and

trade secrets.13 See Tr. 301:1-22; Weber Supp. Decl. Ex. K; Calder Decl. ¶¶ 40, 45, 47 51.

Ferguson admitted to sending “emails regarding a different firm directly from [his] MMA email

account,” even after “Diane Rosen’s email” instructed him not to disclose or use MMA’s

confidential client contact information outside of MMA. See Tr. 277:25-26.

        On February 14, 2019, Calder learned that Ferguson solicited several of MMA’s clients

to move their business from MMA to Teros. Calder Decl. ¶ 57. In response, Calder immediately

instructed Ferguson to “cease and desist” his misconduct and Calder told Ferguson to stop

soliciting clients. Calder Decl. ¶ 58. Ferguson submitted his resignation on February 15, 2019.

Calder Decl. ¶ 62.

        F.       Ferguson’s Continued Breach of His Contractual Obligations to MMA

        Even after Rosen’s directions not to disclose or use MMA’s confidential information

(including MMA’s confidential client contact information), and even after Calder instructed

13
  Though Ferguson claimed that contact information for MMA clients might be available in the public domain,
Ferguson admitted to using and disclosing MMA’s compilation of client contact and other information and Ferguson
never claimed nor proved that he accessed client information from publicly available sources. Tr. 340:18-341:2.




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Ferguson to “cease and desist” from soliciting MMA clients, Ferguson continued to do so,

sending solicitation emails to MMA clients on February 16, 19, 21, March 7, April 16, and June

28 of 2019, touting the purported benefits of his new employer and representing to clients that

moving their business away from MMA was merely an “administrative change” that was “not a

big deal.” See Calder Decl. ¶¶ 66, 71, 76, 81; Calder Reply Decl.14 ¶ 9; Rosen Decl. ¶¶ 11-12, 14.

Ferguson even produced documents to MMA in the course of litigation demonstrating his

disregard of Calder’s directive not to solicit clients and which demonstrated that Ferguson

continued to violate his MMA Agreement even after this court issued its temporary restraining

order. See e.g., Weber Supp. Decl. Ex. F (demonstrating that an MMA client reached out in

response to Ferguson’s solicitation email as recently as August of 2019).

                                                     ARGUMENT

        MMA previously established its entitlement to a temporary restraining order, which this

Court ordered on May 9, 2019 (Dkt 10), and extended on October 7, 2019 (Dkt 83). For the same

reasons, and as explained further below, MMA has also established its entitlement to a

preliminary injunction. See Andino v. Fischer, 555 F. Supp. 2d 418, 419 (S.D.N.Y. 2008) (“It is

well established that in this Circuit the standard for an entry of a TRO is the same as for a

preliminary injunction.”).

I.      LEGAL STANDARD

        A plaintiff seeking a preliminary injunction in the Second Circuit must establish both

“(a) irreparable harm and either (1) a likelihood of success on the merits or (2) sufficiently

serious questions going to the merits to make them a fair ground for litigation and a balance of

hardships tipping decidedly toward the party requesting the preliminary relief.” Goldman, Sachs


14
  “Calder Reply Decl.” as used herein shall refer to the Declaration of Jeff Calder in Support of MMA’s Motion for
a Preliminary Injunction, executed on July 9, 2019 (Dkt. 55).




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& Co. v. Golden Empire Sch. Fin. Auth., 922 F. Supp. 2d 435, 439 (S.D.N.Y. 2013), aff’d, 764

F.3d 210 (2d Cir. 2014) (citing Citigroup Global Mkts., Inc. v. VCG Special Opportunities

Master Fund Ltd., 598 F.3d 30, 35 (2d Cir. 2010)).

II.       MMA WILL SUFFER IRREPARABLE HARM ABSENT INJUNCTIVE RELIEF

          To establish “irreparable harm,” a plaintiff must show that an injury is likely absent an

injunction, and that the injury cannot be adequately remedied with money damages.” IDG USA,

LLC v. Schupp, 416 F. App’x 86, 88 (2d Cir. 2011). MMA has established that it will suffer

irreparable harm without injunctive relief.

          Ferguson’s pattern of flagrantly violating his contractual, statutory and common law

duties to MMA without remorse is bolstered by his own testimony at the evidentiary hearing in

this matter held on October 2 and 3, 2019.

         Ferguson admitted at the evidentiary hearing that he began systematically meeting with
          MMA clients in December 2018 or January 2019 to solicit them to terminate their
          relationship with MMA and to follow Ferguson to Teros. See, e.g. Tr. 301:7-301:22.
          Ferguson’s explanation that he was told to “fire” clients at a meeting on December 20,
          2018 is contradicted by the three other participants in that meeting. See Peartree Decl. ¶
          25, Crain Supp. Decl. II ¶ 13, Tr. 259:2-16.

         Ferguson was forced to admit that after learning that Ferguson had copied his personal
          email address on a client communication, Diane Rosen, MMA’s Compliance Officer, told
          Ferguson in January 2019 to “review [his] personal email records, delete all emails
          containing MMA[‘s confidential information, including] client email addresses, and
          confirm . . . that this has been done.” See Tr: 334:24-335:4; Rosen Decl. 9, Ex. 17. Thus,
          despite being instructed not to disclose, use or send confidential information outside of
          MMA, Ferguson admitted that he sent MMA’s confidential and trade secret client
          “contacts to myself directly to my new company address, over 3,400 contacts.” See Tr.
          277:6-8.

         Despite multiple warnings (from Rosen and Calder) and his contract with MMA
          restricting him from disclosing confidential information, defined to include client
          identities and contact information, Ferguson insists that he “didn’t see [existing and
          prospective client identity and contact information] as confidential information.” See Tr.
          278:22-279:2.




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        Ferguson clarified at the evidentiary hearing that despite his lack of legal training, he
         credits his own skewed interpretation of the relevant law over his contractual and legal
         obligations. Ferguson stated that after receiving a cease and desist letter on February 19,
         2019 from MMA attorneys, Ferguson continued to insist that the information was not
         confidential. See Tr. 316:7-9.

        Ferguson sent emails to MMA clients soliciting their move from MMA to Teros, his
         future employer, even while employed by MMA. After his supervisor, Jeff Calder, sent
         him an email instructing him to “cease and desist,” Ferguson did not stop sending those
         emails. See Tr. 83:21-84:2; Weber Suppl. Decl. Ex. N.

        Calder testified and confirmed that Ferguson’s pattern and practice of MMA client
         solicitations (using and disclosing MMA’s confidential information and trade secrets)
         continued during 2019 at least through July 2019 – including misconduct that occurred
         after this Court entered the temporary restraining order.

         Ferguson’s violations of the MMA Agreement and his duty to MMA as his (former)

employer has threatened to cause and is in fact causing continuing harm to MMA. Jeff Calder,

Principal and Managing Director at MMA, testified that “when you lose one line of business,

clients become less sticky. So for us to lose a piece of business, even though we’ve only lost a

portion of the revenue, it really can put the total revenue at risk.” See Tr. 97:1-5. Courts in the

S.D.N.Y. have acknowledged that this sort of harm to goodwill is not easily quantifiable and is

the precise situation that lends itself to the issuance of a preliminary injunction. See Johnson

Controls, Inc. v. A.P.T. Critical Sys., Inc., 323 F. Supp. 2d 525, 532 (S.D.N.Y. 2004), Uni-World

Capital, L.P. v. Preferred Fragrance, Inc., 73 F. Supp. 3d 209, 236 (S.D.N.Y. 2014), Ticor Title

Ins. Co. v. Cohen, 173 F.3d 63, 69 (2d Cir. 1999); see also Moving Br. at 25, Reply Br. at 17-18.

         The threat of harm and actual harm has already been borne out. MMA has lost client

relationships, at least one of which was lost two months after this Court’s entry of the temporary

restraining order in this action. See Peartree Decl. Ex. E; Weber Supp. Decl. Ex. L (list of

clients lost created by Jeff Calder).15


15
  Plaintiff’s offered a hard-copy version of the spreadsheet. Plaintiff can send a native version of the document to
the Court upon request.




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        Finally, Ferguson may not argue that his violations do not constitute irreparable harm

because he contractually agreed that his use and disclosure of MMA’s confidential information

and trade secrets constitute irreparable harm that entitles MMA to injunctive relief in the event of

a breach. See Weber Supp. Decl. Ex. D (agreeing, per the MMA Agreement, that “irreparable

injury will result to [MMA] in the event of a breach by [Ferguson] of [his] obligations under [the

MMA] Agreement, that monetary damages for such breach would not be readily calculable, and

that [MMA] would not have an adequate remedy at law therefor”). The contractual provision

supports a finding that irreparable harm actually occurred. See, e.g., N. Atl. Instruments, Inc. v.

Haber, 188 F.3d 38, 49 (2d Cir. 1999), Devos, Ltd. v. Record, No. 15-CV-6916 (ADS)(AYS),

2015 WL 9593616, at *10 (E.D.N.Y. Dec. 24, 2015), Uni-World Capital L.P., 73 F. Supp. 3d at

236-37; see also Moving Br. at 26, Reply Br. at 17-18.

III.    MMA HAS SHOWN THAT THE CLIENTS AT ISSUE WERE MMA CLIENTS,
        OR AT LEAST, THERE EXIST SUFFICIENTLY SERIOUS QUESTIONS AS TO
        THE MERITS OF ITS POSITION16

        MMA has established through documentary evidence, declarations, and live testimony

that the clients at issue in this case belong to MMA. MMA is a highly integrated business that

offers multiple lines of insurance products and services to its clients. See Crain Decl. ¶ 6. Many

of the clients that Ferguson solicited or whose confidential information Ferguson

misappropriated and passed to a competitor had business in MMA’s Retirement Services

division, as well as in its Business Insurance and Employee Health & Benefits lines. See Peartree

Decl. Ex. A.

        Further, Calder, an MMA employee who is not licensed or registered with FINRA, was

Ferguson’s direct supervisor. See Calder Decl. ¶ 4; Tr. 19:13-18. Calder testified that the clients


16
 MMA hereby incorporates by references the arguments in its Memorandum of Law in Opposition to Defendant’s
Motion to Dismiss (“MMA Opp. Mot.”) (Dkt. 43).




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at issue in this case “are MMA clients.” See Tr. 171:9-18 (“The Court: . . . [I]s it your personal

view that the clients that are at issue here are MMA clients? The Witness: Yeah, absolutely.

They were either referred in by a current MMA producer, or the business that Rick brought in

through his own efforts, we supported that, we paid for that, we paid for those activities.”).

Calder also testified that MMA Securities does not have its own budget for attracting and

retaining clients, and that all “the money and funding comes from MMA.” See Tr. 173:1-8.

IV.     MMA HAS ESTABLISHED A REASONABLY LIKELIHOOD OF SUCCESS, OR,
        AT THE VERY LEAST, THAT THERE ARE SUFFICIENTLY SERIOUS
        QUESTIONS AS TO THE MERITS OF MMA’S CLAIMS

        A.    MMA Has Demonstrated A Significant Likelihood of Success On Its Breach
        of Contract Claims

        To establish a breach of contract claim, MMA must show that (1) an agreement existed,17

(2) MMA performed its part of the agreement, (3) Ferguson breached the contracts, and that (4)

MMA has been damaged by the breach. See Devos, Ltd., 2015 WL 9593616, at *11.

                1.    Ferguson entered into two contracts to preserve the confidentiality of
                company client information and to refrain from soliciting clients using that
                information

        On February 26, 2007, at the commencement of his employment with Barney & Barney,

Ferguson entered into the B & B Agreement, which contained contractual provisions governing

the confidentiality of company information and restricting Ferguson from soliciting employees

or clients away from Barney & Barney. See Crain Decl. Ex. B (B & B Agreement).

        On February 1, 2014, in connection with his employment with MMA, Ferguson signed

the MMA Agreement, the confidentiality and non-solicitation agreement that all employees were

required to sign as a condition of their employment with MMA (“MMA Agreement”). See


17
  MMA has already provided case law support for the enforceability of the MMA Agreement in its Motion for an
Order to Show Cause for a Temporary Restraining Order, which the Court granted. See Moving Br. at 27-30, Reply
Br. 10-13, May 9, 2019 Order (Dkt. 10). MMA hereby incorporates those arguments and does not repeat them
herein.




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Weber Supp. Decl. Ex. A (template confidentiality and non-solicitation agreement), Ex. B

(Ferguson’s confidentiality and non-solicitation agreement), Ex. C (Calder’s confidentiality and

non-solicitation agreement).18

        By signing the MMA Agreement, Ferguson agreed not to (1) disclose or use MMA’s

“Confidential Information and Trade Secrets” for any reason (other than to perform his

authorized duties for MMA), (2) disclose or use MMA’s Confidential Information and Trade

Secrets to solicit business from or perform services for MMA clients on behalf of any person or

entity other than MMA, and (3) retain any of MMA’s Confidential Information and Trade

Secrets after his employment with MMA ended.

                 2.   Ferguson Admitted to Having Violated His Contractual Obligations
                 to MMA (Claim I)

                          a.       Ferguson admitted to disclosing and disseminating confidential
                                   information to his personal email address and to a competitor

        Ferguson agreed in the MMA Agreement not to “use, disseminate, or disclose to any

other person, organization or entity, Confidential Information and Trade Secrets,” defined to

include “client information, such as the identity of the Company’s clients, the names of

representatives of the Company’s clients responsibility for entering into contracts with the

Company, the amounts paid by such clients, etc.” See MMA Agreement § 1(a)-(b). Ferguson

agreed to abide by this restriction “while associated with the Company and for so long thereafter

as the pertinent information . . . remains confidential.” See id. § 1(b).

        Ferguson admitted to sending email addresses of client contacts to his personal email

address. After Diane Rosen, Chief Compliance Officer for MMA, spoke with Ferguson on that


18
  Ferguson claimed at the evidentiary hearing to have altered his agreement in some form by striking the liquidated
damages provision. See Tr. 284:23-5; 286:17-21. The original copy of Ferguson’s MMA Agreement shows that
Ferguson did not strike out any language in the agreement or add any comments See Weber Supp. Decl. Ex. D. In
addition, Ferguson admitted that the language that he allegedly objected to did not involve the confidentiality or
non-solicitation clauses at issue in this litigation. Tr. 287:16-20.




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day, January 11, 2019, reminding him not to send this information to his personal email address,

Ferguson sent “over 3,400 contacts” to himself, including client contacts, “directly to [his] new

company address,” while he was actively employed with MMA. See Tr. 277:6-8; Rosen Decl. ¶

8. The contacts contained the identity of key decision-makers at MMA clients, as well as

telephone, email, and other contact information, which is defined in the MMA Agreement as

Confidential Information and Trade Secrets. See Weber Supp. Decl. Ex. D; MMA Agreement §

1(a); Calder Decl. ¶¶ 54-56.

       In addition, Ferguson sent confidential customer information to himself. He sent an email

to Nate White, his supervisor at his new employer Teros Advisors “a simple spreadsheet

showing current clients” on January 11, 2019. See Weber Supp. Decl. ¶ H. He also sent a

confidential customer list of MMA’s clients to White on January 29, 2019. See Weber Supp.

Decl. Ex. M.

                      b.       Ferguson retained MMA equipment and confidential
                               information after separating from employment with MMA

       The MMA Agreement restricted Ferguson from retaining “files,” “lists of the Company’s

clients or leads or referrals to prospective clients,” as well as “property of the Company.” MMA

Agreement §(c).     Ferguson acknowledged that he sent confidential information, including

information about prospective clients, to his Teros email address. See Weber Supp. Decl. Ex. E,

K. Ferguson also retained MMA’s computer and confidential information until February 25,

2019, well past his separation from MMA on February 15, 2019, and only returned them after

MMA’s repeated attempts to retrieve MMA’s computers, equipment and confidential

information. See Crain Decl. ¶¶ 8-11.




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                      c.      Ferguson used computer systems for personal gain and to
                              benefit a competitor while employed by MMA

       Ferguson also admitted that he violated the provision of the MMA prohibiting his use of

MMA’s computer systems, including his laptop, “for the personal gain or to benefit third

parties.” See MMA Agreement § 1(d). Ferguson stated that he “never denied” that he sent client

names and contact information “from [his] MMA computer to Teros” while employed by MMA.

See Tr. 336:19-21.

                      d.      Ferguson admitted to soliciting clients to transfer their
                              business from MMA to a competitor while employed by MMA

       Ferguson also admitted to violating the MMA Agreement’s provision in § 2(b), which

prohibits Ferguson from “us[ing] Confidential Information and Trade Secrets” “for the purpose

of selling or providing products or services of the type [Ferguson] sold or provided . . . while

employed by [MMA].” MMA Agreement § 2(b).

       As explained above, Ferguson had planned to solicit clients to leave MMA and join Teros

as early as January 2, 2019, when he informed Nate White, his supervisor at Teros, that he is

“crafting a message” for his clients to “highlight why [Ferguson is] moving to work with [White]

and Teros.” See Weber Supp. Decl. Ex. H. By January 11, 2019, Ferguson had “already met”

with several clients and had scheduled meetings with another four to talk about the “advantages

of moving” from MMA to Teros. See id. See Weber Supp. Decl. Exs. E, K. In fact, Ferguson

admitted to meeting with “all these clients” in person before soliciting them to move to Teros.

See Tr. 301:7-13; 254:5-8 (Q: You asked [clients] whether they would move over to Teros with

you, right? A: I said, You can either stay with Jeff Stephens or you can go with me.”); See Calder

Decl. ¶¶ 38-63. Ferguson admitted that these solicitation meetings occurred before Ferguson

separated from MMA. See Tr. 306: (“Q: Just to be clear, these meetings, when you’re meeting

with MMA clients and telling them that you’re leaving MMA, you’re going to Teros, and you’re



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asking them whether they’ll go to Teros with you . . . you were still employed by a Marsh &

McLennan entity. A: Yes.”).

       Ferguson also admitted to sending emails to clients to encourage them to move their

business from MMA to Teros, while representing that the change was only a “back-office,”

“administrative” change, all while he was employed with MMA. See Tr. 301:1-22; Weber Supp.

Decl. Ex. M; Calder Decl. ¶¶ 40, 45, 47 51. Ferguson admitted to sending “emails regarding a

different firm directly from [his] MMA email account,” even after Diane Rosen “Diane Rosen’s

email” instructing him not to disclose client contact information to his personal account. See Tr.

277:25-26. On February 12, 13 and 14 alone, while still actively employed by MMA, Ferguson

solicited at least 20 MMA clients and encouraged them to sever their business relationships with

MMA and establish a new business relationship with Teros. See Calder Decl. ¶ 51.

       Ferguson insists that his behavior was authorized by MMA at a meeting that took place

on December 20, 2019, even though Bill Peartree, Jeff Calder, and Mara Crain, all of whom

were present at the meeting, deny ever having authorized Ferguson to fire clients, to use

confidential client information for competitive activity, or to solicit their business away from

MMA. See Peartree Decl. ¶ 25, Crain Supp. Decl. II ¶ 13, Tr. 259:2-16 (“I [Jeff Calder] would

never say [to fire clients]. I am not in a position of authority to fire clients that we’ve worked so

hard to maintain. I did not say, You have to take Jeff Stephens or get lost. We had alternatives.

We were ready to present alternatives. And I can’t believe that [Ferguson] misinterpreted it that

way, but I believe that’s because [Ferguson] wanted to make sure these clients could come to

[him] in the future.”).




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                       e.     Ferguson solicited clients after he separated from employment
                              with MMA and unlawfully interfered with MMA’s contractual
                              relationships with its clients

         When Calder, Ferguson’s MMA supervisor, found out that Ferguson had been soliciting

clients when employed, Calder sent Ferguson a “cease and desist” email and informed Ferguson

orally that he should stop soliciting clients. Calder Decl. ¶¶ 4, 58-60; Weber Supp. Decl. Ex. M.

Yet, after submitting his resignation, Ferguson continued to solicit clients, sending emails on

February 16, 19, 21, March 7, April 16, and June 28 of 2019, touting the purported benefits of

his new employer and representing to clients that moving their business away from MMA was

merely an “administrative change” that was “not a big deal.” See Calder Decl. ¶¶ 66, 71, 76, 81;

Calder Reply Decl. ¶ 9. Ferguson even produced documents to MMA in the course of litigation

demonstrating his disregard of Calder’s directive not to solicit clients. See Weber Supp. Decl.

Ex. F.

         Ferguson’s emails to individual clients advertised the “advantages” of Teros, his new

employer, making his emails to MMA clients more than a mere “notice announcing his [change

of] employment,” but instead a targeted solicitation. See Marsh USA Inc. v. Schuhriemen, 183 F.

Supp. 3d at 536 (S.D.N.Y. 2016) (finding that a notice of departure was a targeted solicitation

that likely violated defendant’s non-solicitation agreement because it was not a general

announcement); USI Ins. Servs. LLC v. Miner, 801 F. Supp. 2d at 192-93 (S.D.N.Y. 2011),

(finding that the defendant breached his non-solicitation agreements by sending an email that

informed his former clients of his new position at a competing insurance that touted the merits of

his new employer).




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         B.       Ferguson Admitted to Breaching His Common Law Duties19

         Because MMA employed Ferguson, he owed a duty of loyalty to MMA, which included

a duty not to use of disclose the employer’s confidential contact information to compete with his

employer. See PLC Trenching Co., LLC v. Newton, No. 6:11-CV-0515, 2011 WL 13135653, at

*9 (N.D.N.Y. Dec. 12, 2011).20 Ferguson also owed a general duty to MMA not to engage in

tortious conduct. See PLC Trenching Co., WL 13135633, at *9 (setting forth the elements of

unfair competition claim on a theory of misappropriation under New York common law); Scutti

Enters., LLC v. Park Place Entm’t Corp., 322 F.3d 211, 215 (2d Cir. 2003) (explaining the

elements of a claim for tortious interference with business relations).

         As explained amply in MMA’s Moving Brief, Ferguson breached his duty of loyalty by

surreptitiously planning with a competitor of his employer to use confidential client information,

including email addresses of client contacts and decision makers, to lure clients away from

MMA to Teros. Ferguson’s solicitations of current MMA clients to Teros is itself a breach of his

duty of loyalty to his employer and misappropriation of confidential information. See Reed

Const. Data Inc. v. McGraw-Hill Cos., Inc., 745 F. Supp. 2d 343, 352 (S.D.N.Y. 2010) (“To

state a claim for misappropriation of confidential information under New York law, plaintiff

must allege that defendant used plaintiff’s confidential information for the purpose of securing a

competitive advantage.”).21 Likewise, Ferguson’s deceitful, dishonest, and unfair use of



19
   This section addresses generally the conduct supporting MMA’s claims for Breach of Duty of Loyalty (Claim II),
Tortious Interference (Claim III), Unfair Competition (Claims IV and V), and Misappropriation of Confidential
Information (Claim VI), which are explained more fully in its prior briefing. See Moving Br. at 31-33.
20
   Even if this Court finds that California applies to this action, Ferguson would still have breached his common law
duty of loyalty to his employer, as well as the California statute that codified that duty. See Stokes v. Dole Nut Co.,
41 Cal. App. 4th 285, 295 (1995), Cal. Lab. Code § 2860 (“Everything which an employee acquires by virtue of his
employment, except the compensation . . . belongs to the employer, whether acquired lawfully or unlawfully, or
during or after the expiration of the term of his employment.”).
21
   California’s unfair competition statute “prohibits . . . ‘any unlawful, unfair or fraudulent business act or practice,’”
which includes using an employer’s confidential information to compete. In re Pomona Valley Med. Group, 476
F.3d 665, 674 (9th Cir. 2007) (citing Cal. Bus. & Prof. Code § 17200, et seq.).




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confidential client information to solicit MMA clients away to Teros interfered with MMA’s

relationship with those clients, satisfying the elements for tortious interference with business

relations. See Reed, 745 F. Supp. 2d at 352.

       C.      Ferguson’s Actions Support a Defamation Claim (Claim IX)

       To state a claim for defamation under New York law, a party must show: (1) a false

statement that is (2) published to a third party (3) without privilege or authorization and that (4)

plaintiff is caused harm. Cardali v. Slater, 57 N.Y.S.3d 342, 346 (N.Y. Cnty. Sup. Ct. 2017),

aff'd, 167 A.D.3d 476, 89 N.Y.S.3d 176 (1st Dep’t 2018), leave to appeal denied, No. 2019-101,

2019 WL 1460758 (N.Y. Ct. App. Apr. 2, 2019).

       Ferguson wrote numerous false statements to MMA clients (third parties) without

authorization that caused MMA harm. For example, Ferguson told at least one client that he had

“an agreement with MMA on this change [from MMA to Teros] since it’s relatively minor.” See

Calder Decl. ¶ 71. As explained above, Ferguson had no such agreement with MMA, and the

change was so significant that Calder insisted that Ferguson cease and desist soliciting clients as

soon as he learned it was happening. See Calder Decl. ¶ 72; Weber Supp. Decl. Ex. M. Ferguson

knew that statement was false and nevertheless published it into an email to a third-party,

causing MMA harm to its reputation. Therefore, MMA has shown that it is reasonably likely to

succeed in its defamation claim, or, at the very least, there are sufficiently serious questions

raised that go to the merits of this claim.

       D.      Violation of California Labor Code Sections 2860 and 2862 (Claim VII)

       California Labor Code §§ 2860 and 2862 prohibit an employee from acquiring and

refusing to return, upon demand by his employer, those things which belong to his employer. See

Gen. Elec. Co. v. Wilkins, No. 1:10-CV-00674-OWW, 2011 WL 1740420, at *10 (E.D. Cal. May

5, 2011) (“California Labor Code section 2860 embodies the universally accepted principal that



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work product created by an employee belongs to the employer where the employee was hired to

create such work product.”) Ferguson illegally transferred MMA’s Confidential Information and

Trade Secrets from MMA’s Outlook account to his personal and Teros email accounts while still

employed by MMA, and has not agreed to return the information. Based on the facts of this

case, Ferguson’s initial failure to return his MMA computer, and his continued solicitation of

MMA clients, MMA has demonstrated a significant likelihood of success on this claim.

        E.      Ferguson Violated California Penal Code § 502 (Claim VIII)

        Ferguson violated California’s Penal Code § 502 by knowingly accessing and, without

permission, altering the data on MMA’s computer to wrongfully obtain MMA’s property and

data for financial gain. See Cal. Penal Code 502(c)(1); see Facebook, Inc. v. ConnectU LLC, 489

F. Supp. 2d 1087, 1091 (N.D. Cal. 2007) (“Penal Code section 502 prohibits knowing access,

followed by unauthorized (i.e. “without permission”) taking, copying or use of data.”). By

wrongfully retaining MMA’s computer after soliciting clients to move to Teros and by sending

MMA’s confidential client data to Teros, it is clear that Ferguson used MMA confidential client

information for financial gain, and very likely used MMA’s computer and deleted that

information. Therefore, MMA has demonstrated a significant likelihood of success on the

merits, especially for this early stage of litigation.

        F.      Ferguson Violated the Uniform Trade Secrets Act (Claim X)

        MMA has already established that it carefully guards (a) a legally protectable trade

secret; and (b) a legal basis, either a covenant or a confidential relationship, upon which to

predicate relief. See Imi-Tech Corp. v. Gagliani, 691 F. Supp. 214, 230 (S.D. Cal. 1986) (citing

Futurecraft Corp. v. Clary Corp., 205 Cal. App. 2d 279, 283, 23 Cal. Rptr. 198 (1962)); Cal.

Civ. Code 3246-3246.10. As explained more fully in its prior briefing, MMA’s confidential

compilation of client information is a legally protectable trade secret, and Ferguson kept that



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information, disclosed it to a competitor, and used that information to solicit clients,

demonstrating a significant likelihood of success on its claim. See also Moving Br. at 36-39;

Reply Br. at 9-10.

       G.    A Balancing of the Equities Tips in Favor of Granting Preliminary
       Injunctive Relief

       MMA has demonstrated a likelihood of success on the merits for each of its ten claims.

However, even if the Court finds that MMA has only raised sufficiently serious questions going

to the merits of each claim, the Court should still issue the requested preliminary injunction

because a balance of the equities tips in favor of MMA. See Marsh USA, 183 F. Supp. 3d at 536-

37 (granting preliminary injunctive relief and observing that an individual defendant was

unlikely to suffer “great hardship” if prevented from soliciting the plaintiffs’ clients for a year).

                                              CONCLUSION

       For the foregoing reasons and as stated in its Moving and Reply Briefs, MMA

respectfully requests the Court grant its motion for a preliminary injunction.

Date: December 20, 2019
      New York, New York
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